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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION


  UNLIMITED RESOURCES INCORPORATED,
  a Florida corporation,

          Plaintiff,


  v.                                               CASE NO. 3:07-cv-961-J-25MCR


  DEPLOYED RESOURCES, LLC.,
  a foreign limited liability company,
  JOHN DOE; and JANE DOE,
  currently unknown individuals or entities,

       Defendants.
  ________________________________________

                                         ORDER

          Pursuant to the parties’ Stipulation (Dkt. 165), it is

          ORDERED that this action is DISMISSED with prejudice. The Clerk is

  directed to close this case.

          DONE AND ORDERED at Jacksonville, Florida this 26th day of January,

  2010.




  Copies to: Counsel of Record
